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                 UNITED STATES BANKRUPTCY COURT

                  WESTERN DISTRICT OF MICHIGAN
                       _________________

MAITLAND, DELORES MARGUERITE             Case No.: 21-02136 jwb
                                         Chapter 7

                   Debtor(s)
_________________________________________________________________

             NOTICE OF REMOTE MEETING OF CREDITORS

Please take notice that the meeting of creditors for this
bankruptcy proceeding shall take place remotely, due to the special
procedures taken as a result of the COVID-19 epidemic:

Date: 10/13/21
Time: 9:40 AM
Phone number to call:       1-877-447-3580
Participant passcode:       5568710

Please call at least 5 minutes before the time set for the meeting.
Phones should be set to mute until your matter is called. Once
your matter is done, please set the phone to mute again to wait for
another meeting, or hang-up to disconnect.

Note that the debtors and debtor attorneys are requested to also
make a video connection for this meeting and have been provided
information regarding that separately. If a creditor also wishes
to join by video, if any, please contact the trustee at
trustee@meolilaw.com .

September 30, 2021                 /S/Marcia R. Meoli_____________
                                   Marcia R. Meoli, trustee

                                   17 West 10th Street, Suite 120
                                   Holland, MI 49423
                                   616.396.2124
                                   mmeoli@meolilaw.com
